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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-116 (DLF)
v. : VIOLATIONS:
WILLIAM McCALL CALHOUN, JR., : 18 U.S.C. §§ 1512(c)(2) and 2
: (Obstruction of an Official Proceeding)
Defendant. : 18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a
Restricted Building or Grounds)
18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in
a Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in a Capitol
Building)

40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or
Picketing in a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, WILLIAM
McCALL CALHOUN, attempted to, and did, corruptly obstruct, influence, and impede an
official proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of
the Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
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COUNT TWO
On or about January 6, 2021, within the District of Columbia, WILLIAM McCALL
CALHOUN, did knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, WILLIAM McCALL
CALHOUN, did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, WILLIAM McCALL
CALHOUN, willfully and knowingly engaged in disorderly and disruptive conduct within the
United States Capitol Grounds and in any of the Capitol Buildings with the intent to impede,

disrupt, and disturb the orderly conduct of a session of Congress and either House of Congress,
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and the orderly conduct in that building of a hearing before or any deliberation of, a committee of
Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,

Section 5104(e)(2)(D))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, WILLIAM McCALL
CALHOUN, willfully and knowingly paraded, demonstrated, and picketed in any United States
Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Mdthor, Crater, ipo

Attorney of the United States in
and for the District of Columbia.
